Case 1:23-mc-00263-JMS-WRP Document 1-1 Filed 04/13/23 Page 1 of 2            PageID.6




 CULPEPPER IP, LLLC
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 Internet subscribers of Cox Communications, LLC and CoxCom LLC


                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


 In re Subpoena                             )   Case No.: 1:23-mc
                                            )   (Copyright)
 Internet subscribers of Cox                )
 Communications, LLC and CoxCom             )   DECLARATION
 LLC                                        )
                                            )
                                            )
                                            )

                  DECLARATION PURSUANT TO 17 U.S.C. 512(h)

       KERRY S. CULPEPPER, hereby declares under penalty of law that the

 following is true and correct:

       1.       I am an attorney licensed to practice law in Hawai’i and Virginia and

 represent the owner of the copyright in the motion picture shown in the attached

 Exhibit “1”.

        2.      This declaration is made in support of the accompanying subpoena,

 pursuant to 17 U.S.C. §512(h)(2)(C).
                                            1
 20-023Ga
Case 1:23-mc-00263-JMS-WRP Document 1-1 Filed 04/13/23 Page 2 of 2             PageID.7




       3.     The purpose of the accompanying Subpoena is to obtain the identities

 of the alleged copyright infringers, namely the individuals who are distributing

 copies of the motion picture. The information obtained will be used only for the

 purpose of protecting the rights granted to the copyright owner.



       I declare under penalty of perjury that the foregoing is true and correct.



       DATED: Kailua-Kona, Hawaii, April 6, 2023.

                                 CULPEPPER IP, LLLC


                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper
                                 CULPEPPER IP, LLLC
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 20-023Ga
